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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT

__________________________________________
                                          )
EVERGREEN POWER, LLC and                  )
ASNAT REALTY, LLC,                        )
                                          )
                  Plaintiffs,             )
                                          )
            v.                            )
                                          )
THE UNITED STATES OF AMERICA, et al.,     )                No. 3:14-cv-01537-WWE
                                          )
            Defendants.                   )
                                          )
THE UNITED STATES OF AMERICA,             )
                                          )
            Counterclaim Plaintiff,       )
                                          )
            v.                            )
                                          )
ASNAT REALTY, LLC,                        )
EVERGREEN POWER, LLC,                     )
URI KAUFMAN, and                          )
IRA SCHWARTZ,                             )
                                          )
            Counterclaim Defendants.      )
__________________________________________)

                 JOINT STIPULATION, SETTLEMENT AGREEMENT,
                         ORDER, AND FINAL JUDGMENT

       WHEREAS the United States of America (“United States”), on behalf of the United

States Coast Guard (“Coast Guard”), has filed a Counterclaim in this action (ECF Doc. No. 47)

asserting claims under Section 1002 of the Oil Pollution Act (“OPA”), 33 U.S.C. § 2702, for

recovery of oil removal cleanup costs, and Subsections 311(b)(7)(A) and (b)(7)(B) of the Clean

Water Act (“CWA”), 33 U.S.C. §§ 1321(b)(7)(A) and (b)(7)(B), for civil penalties, against Asnat

Realty, LLC (“Asnat”) and Evergreen Power, LLC (“Evergreen”), Uri Kaufman, and Ira

Schwartz (collectively “Counterclaim Defendants”).


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          WHEREAS the claims asserted in the United States’ Counterclaim arise from the Coast

Guard’s response in September and October of 2014 to alleged uncontrolled oil at property

located at 510 Grand Avenue, New Haven, Connecticut and known as “Parcel B,” and sheens

observed in the Mill River adjacent to that property (hereinafter the “2014 Incident”).

          WHEREAS the United States’ Counterclaim alleges that the Counterclaim Defendants

are liable under Section 1002 of OPA for the United States’ removal costs incurred as a result of

the 2014 Incident, and liable for civil penalties for violations of Section 311 of the CWA.

          WHEREAS the Counterclaim Defendants deny that they are liable for the removal costs

incurred by the United States in connection with the 2014 Incident, and deny that they are liable

for any violations of Section 311 of the CWA with respect to the 2014 Incident.

          WHEREAS in October 2014 Asnat and Evergreen filed a Complaint for declaratory and

equitable relief against the United States concerning the 2014 Incident (ECF Doc. No. 1).

          WHEREAS in July 2015 this Court granted the United States’ motion for judgment on

the pleadings on Asnat and Evergreen’s Complaint under Fed. R. Civ. P. 12(c) (ECF Doc.

No. 30), and neither Asnat nor Evergreen has amended or refiled their Complaint since that time.

          WHEREAS the United States and Counterclaim Defendants (collectively, the “Parties”)

agree that the Court’s approval of this Stipulation, Settlement Agreement, Order, and Final

Judgment (“Stipulation”) is the most appropriate means of resolving the remaining claims in this

action.

          WHEREAS, by entering into this Stipulation, Counterclaim Defendants, except as

provided in Paragraph 1, do not admit and continue to deny the allegations in the Counterclaim

and do not admit and continue to deny any liability arising out of the transactions or occurrences

alleged in this action.



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       WHEREAS the Parties agree and, by approving this Stipulation, the Court finds that this

Stipulation has been negotiated by the Parties at arm’s length, in good faith; will avoid prolonged

litigation; and is fair, reasonable, and furthers the objectives of OPA and the CWA.

       NOW, THEREFORE, without the adjudication or admission of any issue of fact or law

except as provided in Paragraph 1 and with the consent of the Parties, IT IS HEREBY

ADJUDGED, ORDERED, AND DECREED as follows:


       1.      This Court has jurisdiction over the subject matter of this action, pursuant to

Section 1017(b) of OPA, 33 U.S.C. 2717(b), Subsections 311(b)(7)(E), (e)(2), and (n) of the

CWA, 33 U.S.C. §§ 1321(b)(7)(E), (e)(2) and (n), and 28 U.S.C. §§ 1331, 1345, and 1355.

Venue lies in this District pursuant to 28 U.S.C. §§ 1391 and 1395; Section 1017(b) of OPA,

33 U.S.C. § 2717(b), and Section 311(b)(7)(E) of the CWA, 33 U.S.C. § 1321(b)(7)(E), because

Asnat and Evergreen conduct business and/or may be found in this judicial district, the subject

property is located in this judicial district, and the 2014 Incident and response that gave rise to

the United States’ Counterclaim occurred in this judicial district. For purposes of this Stipulation

or any action to enforce this Stipulation, the Parties agree that (i) the Court has jurisdiction over

the United States’ Counterclaim, this Stipulation, and any such action; (ii) venue lies in this

judicial district; and (iii) the Court has personal jurisdiction with respect to Counterclaim

Defendants only to enforce the terms of this Stipulation. For the purposes of this Stipulation or

an action to enforce this Stipulation, the Counterclaim Defendants agree not to dispute that the

Counterclaim states a claim upon which relief may be granted, and agree not to challenge the

propriety of venue in this Court and the personal jurisdiction of this Court over the Counterclaim

Defendants.




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       2.      The obligations of this Stipulation apply to and are binding upon the United

States, and upon Counterclaim Defendants, jointly and severally, and any successors, assigns, or

other entities or persons otherwise bound by law, provided that Paragraphs 4 and 7 are binding

upon Asnat and Evergreen and any successors and assigns of those entities but are not binding

upon Uri Kaufman and Ira Schwartz and any successors and assigns of those individuals.

       3.      For the purposes of this Stipulation, “Day” shall mean a calendar day unless

expressly stated to be a business day. In computing any period of time under this Stipulation,

where the last day would fall on a Saturday, Sunday, or federal holiday, the period shall run until

the close of business of the next business day.

       4.      Asnat and Evergreen shall pay the sum of $700,000 (the “Settlement Amount”)

(a) as reimbursement of costs incurred by the Oil Spill Liability Trust Fund in responding to the

2014 Incident, in the amount of $454,000 with interest (“OPA Interest”) accrued pursuant to

Section 1005 of OPA, 33 U.S.C. § 2705; and (b) as a civil penalty in the amount of $246,000 for

the alleged violations of Section 311 the CWA.

       5.      Counterclaim Defendants shall not deduct any amounts of civil penalties paid

pursuant to Paragraph 4(b) of this Stipulation in calculating their federal income tax.

       6.      This Stipulation shall be lodged with the Court for a period of not less than 30

days for public notice. The United States reserves the right to withdraw or withhold its consent

if the Settlement Amount not been deposited in the Court Registry in accordance with

Paragraphs 4 and 7, or if the comments regarding the Stipulation disclose facts or considerations

indicating that the Stipulation is inappropriate, improper, or inadequate.

       7.      On the date on which this Stipulation is lodged with the Court, the United States,

along with Asnat and Evergreen, will jointly move for an order directing the Clerk of the Court



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to deposit monies received from Asnat and Evergreen into a Court registry account bearing

interest (“Registry Interest”) in accordance with Federal Rule of Civil Procedure 67 and Local

Rule of Civil Procedure 67. Within seven days after the entry of such order, Asnat and

Evergreen will deposit such monies, equal to the Settlement Amount, with the Court for deposit

into the Court registry account. If Asnat and Evergreen fail to timely deposit such monies,

interest (“Late Payment Interest”) will accrue on the Settlement Amount at the rate specified in

28 U.S.C. § 1961 as of the date on which this Stipulation is lodged with the Court, until such

time as monies equal to the Settlement Amount with accrued Late Payment Interest are deposited

with the Court.

       8.        After the close of the public comment period and the deposit of monies equal to

the Settlement Amount and any accrued Late Payment Interest with the Court, unless comments

received from the public disclose facts or considerations indicating that the Stipulation is

inappropriate, improper, or inadequate, the United States will in good faith move the Court, as

soon as reasonably practical, for an order approving this Stipulation and releasing from the Court

registry to the United States the monies received from Asnat and Evergreen plus any accrued

Registry Interest. The funds received from the Court registry will be deposited in the Oil Spill

Liability Trust Fund administered by the Coast Guard.

       9.        If, after the public comment period, the United States withdraws from this

Stipulation, or this Stipulation is not approved by the Court within 90 days following the filing of

a motion to approve this Stipulation in accordance with Paragraph 8, upon written demand by

Asnat and Evergreen, the clerk shall return the monies deposited with the Court Registry to

Asnat and Evergreen within 3 days without interest. If such a demand is made, this Stipulation is

null and void.



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       10.      Upon the release of the monies equal to the Settlement Amount plus any accrued

Late Payment Interest and Registry Interest from the Court registry to the United States:

             a. all claims on behalf of Asnat and Evergreen that have been asserted in this

                litigation are dismissed with prejudice and Counterclaim Defendants release the

                United States from all claims and liabilities that have been asserted in this

                litigation; and

             b. all claims on behalf of the United States that have been asserted in this litigation

                are dismissed with prejudice, and the United States releases Counterclaim

                Defendants and any and all agents, members, attorneys, officers and employees of

                Asnat and Evergreen from all claims and liabilities that have been asserted by the

                United States in this action.

       11.      The United States reserves, and this Stipulation is without prejudice to, all rights

against Counterclaim Defendants with respect to all other matters not asserted by the United

States in the Counterclaim, including, but not limited to, any criminal liability.

       12.      The Court has granted the United States’ motion for judgment on the pleadings in

Asnat and Evergreen’s Complaint, and Counterclaim Defendants hereby covenant not to sue and

agree not to assert any claims related to the 2014 Incident, or response activities in connection

with the 2014 Incident, against the United States pursuant to the CWA, OPA, or any other state

or federal law or regulation for any acts or omissions through the date of lodging of the

Stipulation. Counterclaim Defendants further covenant not to sue and agree not to assert any

direct or indirect claim for reimbursement from the Oil Spill Liability Trust Fund or pursuant to

any other provision of law.

       13.      Each party shall bear its own costs and attorneys’ fees in this matter.



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       14.     The undersigned officers of Asnat and Evergreen, along with Uri Kaufman, Ira

Schwartz, and the Deputy Section Chief of the U.S. Department of Justice, Environment and

Natural Resources Division, Environmental Enforcement Section, each certify that he or she is

fully authorized to enter into the terms and conditions of this Stipulation and to execute and

legally bind the Party or Parties he or she represents to it.

       15.     Upon approval of this Stipulation by the Court, this Stipulation shall constitute a

final judgment of the Court between and among the United States and the Counterclaim

Defendants. The Court finds that there is no just reason for delay and therefore enters this

judgment as a final judgment under Fed. R. Civ. P. 54 and 58.




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WWE(D. Conn).

FOR THE UNITED STATES OF AMERICA

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                                                    ~       /    2007
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FOR COUNTERCLAIM DEFENDANTS



 Mehboob Shah                  Date                Mehboob Shah        Date
 Manager                                           Manager
 ASNAT REALTY,LLC                                  EVERGREEN POWER,LLC




                                                       f~.. .^ ~~                             ~~l
 URI KAUFMAN                   Date                I   SCHWARTZ                  Date
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